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 9
10                             UNITED STATES DISTRICT COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
12
13   THRIVE NATURAL CARE, INC.                   Case No. 2:20-cv-9091-PA-AS
14               Plaintiff,                      TRIAL DECLARATION OF NED A.
15                                               MENNINGER
           v.
16                                               Trial Date:   November 9, 2021
     THRIVE CAUSEMETICS, INC.,                   Time:         9:00 a.m.
17                                               Place:        Courtroom 9A
                 Defendant.
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                              TRIAL DECLARATION OF NED A. MENNINGER
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 1                     TRIAL DECLARATION OF NED A. MENNINGER
 2          I, Ned A. Menninger, declare and state as follows:
 3          1.     I am the Vice President (“VP”) of Finance at Thrive Causemetics, Inc.
 4   (“Thrive Causemetics”). This declaration sets forth my direct trial testimony in
 5   support of Thrive Causemetics’ case-in-chief. I have personal knowledge of the facts
 6   stated in this declaration and I would and could testify as to them if called as a witness
 7   in this action.
 8          2.     I graduated in 1984 from the University of Southern California with a
 9   Bachelor of Science degree in Business and since then have worked for over 35 years
10   in various financial, administration, and public accounting roles, including
11   management and senior management with responsibility for financial reporting,
12   raising capital, and analysis and advisement of strategic business options.
13          3.     I joined Thrive Causemetics in 2017 as a contract Chief Financial Officer
14   (“CFO”) and served in that role for approximately two years, transitioning to an
15   employee CFO role around July 2019. My title changed to VP of Finance in 2021 but
16   my job responsibilities remained the same. I was attracted to Thrive Causemetics in
17   part because of my background and interest in advising young companies, but also
18   because of the quality of Thrive Causemetics’ products, the drive of its founder and
19   Chief Executive Officer (“CEO”), Karissa Bodnar, and its commitment to support
20   women in need through charitable giving.
21          4.     As VP of Finance, my responsibilities include managing, supervising,
22   and executing on all of Thrive Causemetics’ financial reporting obligations,
23   maintaining the general ledger, managing Thrive Causemetics’ accounting,
24   corresponding with Thrive Causemetics’ professional advisors, evaluating business
25   opportunities, reporting to and updating Thrive Causemetics’ Board of Directors, and
26   providing strategic advice and support to Ms. Bodnar. I also supervise another
27   employee who assists me with Thrive Causemetics’ financial reporting and
28   accounting. Due to my responsibilities for Thrive Causemetics’ financial reporting

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 1   and accounts, I have personal knowledge of all of Thrive Causemetics’ financial
 2   information, including its revenue, advertising expenditures, and other costs.
 3         5.      During the course of discovery in this lawsuit, I understood that Plaintiff
 4   sought the production of certain financial information, including revenue, profit, and
 5   costs, by product, for Thrive Causemetics’ products. Accordingly, in March 2021, I
 6   created spreadsheets of Thrive Causemetics’ financial information for all of Thrive
 7   Causemetics’ products, and separately, for its skincare products, from November 2016
 8   through February 2021, and provided those spreadsheets to Thrive Causemetics’
 9   counsel for production in this action, true and correct copies of which have been
10   marked as Trial Exhibits 2 and 3, respectively.
11         6.     Thrive Causemetics maintains certain of the information reflected in
12   Trial Exhibits 2 and 3 (e.g., revenues and landed costs of goods sold) on a product-by-
13   product basis in its financial records. However, in the ordinary course of business,
14   Thrive Causemetics does not track certain other costs, including particularly its
15   overhead costs, on a product-by-product basis; instead, the company tracks those costs
16   on an all-up basis. Accordingly, in preparing the spreadsheets marked as Trial
17   Exhibits 2 and 3, I apportioned overhead costs by calculating the percentage of units
18   sold of each skincare product relative to the total units of all products sold (i.e., units
19   of a specific skincare product sold divided by total units sold), applied that percentage
20   to the company’s total overhead costs for each year, and then allocated the resulting
21   cost figure to the corresponding skincare product.
22         7.      In June 2021, I provided updated financial information for Thrive
23   Causemetics’ skincare products as well as updated financial information for Thrive
24   Causemetics’ “Buildable Blur CC Cream” color cosmetics product. Trial Exhibit 38
25   is a true and correct copy of the spreadsheet that I prepared reflecting this financial
26   information; it was prepared using the same methodology described above with
27   respect to Trial Exhibits 2 and 3.
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 1         8.     In July 2021, I provided financial information for Thrive Causemetics’
 2   Filtered Effects Blurring Primer color cosmetics product. Trial Exhibit No. 452 is a
 3   true and correct copy of the spreadsheet that I prepared reflecting this financial
 4   information; it was prepared using the same methodology described above with
 5   respect to Trial Exhibits 2 and 3.
 6         9.     Thrive Causemetics has achieved remarkable success since its founding,
 7   with significant year-over-year growth. From late 2016 through February 2021,
 8   Thrive Causemetics achieved a total of $422,764,692 in revenues, including
 9   $27,436,054 attributable to the sale of skincare products, as detailed in Trial Exhibit
10   Nos. 2, 3, 38, and 452.
11         10.    Since 2016, Thrive Causemetics has devoted substantial and increasing
12   amounts to advertising its products and building its brand, as reflected in Trial Exhibit
13   Nos. 2, 3, 38, and 452.
14         11.    In addition to other costs, Thrive Causemetics incurs (and Trial Exhibits
15   2, 3, 38, and 452 reflect) overhead expenses in the operation of its business.
16   Although, as noted above, Thrive Causemetics does not track these overhead expenses
17   on a product-by-product basis in the ordinary course of business (as many of the costs
18   relate to the growth and success of Thrive Causemetics’ brand and entire product
19   range, including skincare products, as a whole), each category of overhead expense is
20   of actual assistance in the production, distribution, and/or sale of Thrive Causemetics’
21   skincare products, as follows:
22                a.     Thrive Causemetics pays salaries and benefits to its employees,
23   which allow it to employ nearly one hundred people who are indispensable to the
24   development, production, advertising, marketing, distribution, and sale of all Thrive
25   Causemetics’ products, including its skincare products; these employee roles include
26   personnel responsible for procurement and purchasing and product management (e.g.,
27   Fulfillment Coordinator, Purchasing Manager, Inventory Manager, Supply Chain
28   Planning Manager, etc.), sales (e.g., CRM Manager, eCommerce Merchandising

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 1   Manager, etc.), and marketing (e.g., Growth Marketing Manager, Social Media
 2   Coordinator, Manager of Creative Services, Graphic Designer, etc.).
 3                b.     As described in greater detail in Ms. Bodnar’s Trial Declaration,
 4   Thrive Causemetics’ charitable expenses are a core part of its mission and business
 5   model, and are a key driver of Thrive Causemetics’ product sales, including sales of
 6   Thrive Causemetics’ skincare products.
 7                c.     Thrive Causemetics’ research and development (“R&D”)
 8   expenses, which are, by definition, of actual assistance in the production of Thrive
 9   Causemetics’ skincare and other products – those products would not exist, and could
10   not be produced (much less distributed and sold) without R&D expenses.
11                d.     Thrive Causemetics’ rent and related office equipment and
12   administrative expenses enable the company to maintain its two office locations (one
13   in Bellevue, Washington and another in Los Angeles, California) which it actively
14   uses in the production, distribution, and sale of all of Thrive Causemetics’ products,
15   including skincare products.
16                e.     Thrive Causemetics’ expenses related to travel, entertainment, and
17   public relations include, for example, expenses related to new product launches (such
18   as travel to contract manufacturers for quality assurance testing) and product
19   marketing (such as meetings with press and social media influencers to help create
20   awareness and enthusiasm for the new products). These expenses are incurred for the
21   purpose of marketing and promoting Thrive Causemetics and its products, including
22   its skincare products, and thus directly facilitate and assist in the sale of those
23   products.
24                f.     Thrive Causemetics is required by law to pay taxes, including
25   income taxes, which arise from and are attributable to the sale of its products,
26   including its skincare products, and the payment of those taxes is necessary to permit
27   the continued production, distribution, and sale of those products. Likewise, Thrive
28   Causemetics maintains insurance for which it pays premiums included in the

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 1   company’s overhead expenses, which is necessary (and in some cases, required by
 2   law) for the company to produce, distribute, and sell its products, including its
 3   skincare products.
 4                g.      Thrive Causemetics engages legal counsel for a variety of issues,
 5   including regulatory compliance related to its skincare and other products, and those
 6   legal fees are thus necessary to, and thus of actual assistance in, the production,
 7   distribution, and sale of those products.
 8                h.      Finally, Thrive Causemetics engages a variety of non-legal
 9   professional services necessary to the company’s ongoing business operations, such as
10   auditing, tax preparation services and other banking services, the retention and
11   payment of which are necessary for the continued operation of Thrive Causemetics’
12   business and thus instrumental to the company’s ability to maintain and grow the
13   production, distribution, and sale of Thrive Causemetics’ skincare and other products.
14         12.     I understand that Plaintiff has taken the position that legal expenses
15   incurred by Thrive Causemetics in connection with the class action case Barker v.
16   Thrive Causemetics, Inc. were not “of actual assistance” in the production,
17   distribution, or sale of Thrive Causemetics’ skincare products. That claim is incorrect.
18   At issue in that lawsuit was not a specific product or product line, it was instead a
19   claim regarding Thrive Causemetics’ charitable giving mission. Although the action
20   was filed shortly before the public launch of Thrive Causemetics’ skincare products,
21   legal expenses incurred in connection with Thrive Causemetics’ defense of its
22   marketing, advertising, and representation of its charitable giving mission are directly
23   tied to the manner in which Thrive Causemetics can advertise and market all of its
24   products, including the skincare products first sold shortly after the lawsuit was filed,
25   because Thrive Causemetics’ charitable giving mission is core to its brand identity and
26   is inextricably linked to how the company sells products, including skincare products.
27         13.    I further understand that Plaintiff has taken the position that Thrive
28   Causemetics has a strong commercial presence in part because it was allegedly in

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